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7
8                        IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )
                                  ) CR No. S-96-350-WBS
12                    Plaintiff, )
                                  )
13                v.              ) STIPULATION AND ORDER TO CONTINUE
                                  ) JUDGMENT AND SENTENCING
14   HUY CHI LUONG,               )
                                  ) Date: March 12, 2007
15                    Defendant. ) Time: 8:30 A.M.
     _____________________________) Courtroom: Hon. William B. Shubb
16
17          The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong and Jason S. Hitt, Assistant
20   United States Attorneys; and defendant Huy Chi Luong, through his
21   counsel of record, John Balazs, Esq.; hereby stipulate and agree to
22   reschedule the sentencing in this matter for March 12, 2007, at 8:30
23   a.m.
24          In light of the recent Ninth Circuit decision in the Northern
25   District of California wherein defendant Huy Chi Luong<s 25 years
26   sentence has been set aside, the effect of that decision will
27   clearly impact the issues relevant to the sentencing in this matter.
28   Accordingly, the parties stipulate that the sentencing in this

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1    matter be continued to March 12, 2007, at 8:30 a.m.         Furthermore,
2    should additional time be necessary for the probation office to
3    prepare a new presentence report, a further continuance may be
4    necessary.
5                                               Respectfully submitted,
6                                               McGREGOR W. SCOTT
                                                United States Attorney
7
8    DATED: February 21, 2007         By:        /s/ William S. Wong
                                                WILLIAM S. WONG and
9
10   DATED: February 21, 2007         By:        /s/ Jason Hitt
                                                JASON HITT
11                                              Assistant U.S. Attorneys
                                                Attorneys for Plaintiff
12
13   DATED: February 21, 2007         By: /s/ William S. Wong authorized by
                                              phone
14                                         JOHN BALAZS, ESQ., Attorney
                                           for Defendant Huy Chi Luong
15
     ________________________________________________________________
16
17                                      ORDER
18        For the reasons set forth above, the sentencing in this matter
19   is rescheduled for March 12, 2007, at 8:30 a.m.
20
21        IT IS SO ORDERED.
22
23   DATED:   February 22, 2007
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